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                                                       May 9, 2025

- Sent via email -
The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007
LimanNYSDChambers@nysd.uscourts.gov

                     Re: U.S. v. Anthony Saccavino, 24 Cr. 537 (LJL)
                         Request to Seal Additional Sentencing Submission

Dear Judge Liman:

        Our office represents Mr. Anthony Saccavino, who is scheduled to be sentenced
before you on May 14, 2025, at 10:30 a.m., having pled guilty to Count One of
Indictment 24 Cr. 537 (LJL) (the “Indictment”), which charged him with conspiracy to
solicit and receive a bribe as an agent of an organization receiving federal funds, in
violation of 18 U.S.C. § 371.

       We have previously filed a sentencing submission on his behalf (Def. Mem., ECF
No. 56). Since then, we have received additional exhibits which we would like to
include for the Court’s consideration. Pursuant to your Honor’s Individual Practices in
Criminal Cases concerning sentencing, Sec. 8(H), we are seeking to file the entire
submission under seal.

        Our request is made because the exhibits to be filed contain: a confidential
record concerning the educational (“IESP”) needs of one of his daughters (Angelina);
letters confirming that both daughters are currently in therapy; and related historical
medical information for Angelina. An unreacted copy of the collective submission is
provided. We believe that sealing is justified because both daughters are minors and
the records provided are sensitive in that they address treatment and diagnosis.
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      Accordingly, we ask leave to file Mr. Saccavino’s entire supplemental sentencing
submission under seal, and further request that this letter-motion itself should be sealed
because it reveals the confidential medical, educational and therapeutic information of
minors.


                                                  Respectfully submitted,

                                                  /s/     Joseph M. Caldarera
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Encl.
cc: Jessica Greenwood
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